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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )                     4:09CR3031
                   Plaintiff,                )
                                             )
            v.                               )          MEMORANDUM AND ORDER
                                             )
MICHAEL KONING,                              )
                                             )
                   Defendants.               )

      IT IS ORDERED:

      1)    Defendant Michael Koning’s unopposed oral motion, (filing no. 196), is granted.

      2)    Defendant Michael Koning is authorized to participate in aero-medical flights for
            Care Jet, to include taking flights to destinations within the United States (including
            Guam and Hawaii), the Phillipines, Japan, and Korea.


      DATED this 30th day of June, 2011.


                                           BY THE COURT:



                                           ___________________________
                                           United States Magistrate Judge
